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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 UNITED STATES OF AMERICA,                          Case No. 18-cr-00599-VC-1
                Plaintiff,
                                                    ORDER RE: AUDIO RECORDINGS
         v.
                                                    Re: Dkt. No. 218
 ISAI ULISES VILLAGOMEZ,
                Defendant.



       It is not at all clear that the government needs voice recognition testimony to make a

prima facie showing that it was the defendant speaking to the confidential informant on the

recordings. The fact that the recorded calls were placed to a number registered to the defendant,

along with the fact that the defendant took actions consistent with the conversation between the

confidential informant and the other person on the recordings, strongly suggests that the

defendant was the person speaking with the informant on the calls. However, if the government
wishes to present voice recognition testimony from an agent, the agent will be required to

articulate the basis for his ability to recognize the defendant’s voice at the hearing on Monday,

March 14, 2022.

       IT IS SO ORDERED.

Dated: March 11, 2022
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
